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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 NATHANIEL MCFARLAND, in his capacity as
 supervised and ancillary administrator of the ESTATE             PLAINTIFF’S AFFIDAVIT
 OF DANIEL PRUDE,                                                 IN SUPPORT OF MOTION
                                                                  TO APPROVE
                     Plaintiff,                                   SETTLEMENT

                     v.
                                                                  No. 6:20-cv-006675-FPG
 THE CITY OF ROCHESTER, MARK VAUGHN,
 TROY TALADAY, FRANCISCO SANTIAGO,
 MICHAEL MAGRI, ANDREW SPECKSGOOR,
 JOSIAH HARRIS, and other as-yet-unidentified
 Rochester police officers,

                      Defendants.


STATE OF ILLINOIS              )
                            ss:)
COUNTY OF DUPAGE               )

       NATHANIEL MCFARLAND, as supervised and ancillary administrator of the Estate of

Daniel Prude, deceased, being duly sworn, deposes and states:

       1.       I am the surviving son of Daniel Prude, decedent, and reside in Villa Park, Illinois.

I make this affidavit in support of plaintiff’s motion for an order approving the settlement of this

matter, including damages, attorneys’ fees and disbursements, and submit it in conjunction with

the affidavit of one of my attorneys, Matthew J. Piers, Esq.

       2.       On March 30, 2020, Daniel Prude died after having been taken into custody by

Defendant Rochester Police Officers on March 23, 2020. He died leaving no known will (he was

intestate) and resided (was domiciled) in Cook County, Illinois. Ex. A, the Death Certificate of

Daniel Prude.




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       3.       Daniel Prude was 41 years of age at the time of his death. He left the following

children, who are the sole distributees: Nathaniel McFarland (son), Junera Prude (daughter),

Tashyra Prude (daughter), Terrell Prude (son), and Sharell Prude (daughter).

       4.       On November 12, 2020, the Cook County Probate Court in Illinois appointed me

Supervised Administrator of Daniel Prude’s Estate. Ex. B. On December 3, 2020, the Monroe

County Surrogate’s Court appointed me Ancillary Administrator of the Estate of Daniel Prude and

revoked the Letters of Administration with Limitations previously issued to Tameshay Prude,

Daniel Prude’s sister. Ex. C. On January 5, 2021, this Court substituted me for Tameshay Prude

as Plaintiff in the above-referenced matter. ECF No. 19.

       5.       I am and have been represented in this action by the law firms of Hughes Socol

Piers Resnick & Dym, Ltd.; Adam David Ingber, P.C.; and Faraci Lange, LLP (“Plaintiff’s

Counsel”).

       6.       As set forth in the affidavit of one of my attorneys, Matthew J. Piers, this is an

action for the wrongful death of my father, seeking monetary damages for his pain, suffering, and

terror prior to his death, and for the loss of his support and guidance to his children (the “Lawsuit”).

As alleged, in the early morning hours of March 23, 2020, Daniel Prude was suffering from an

acute mental health crisis. His brother, Joe Prude, called 911 out of concern for Daniel Prude’s

safety after he abruptly ran out of his brother’s house without shoes and without a coat in freezing

cold temperatures. The defendant Rochester Police Officers who located Daniel Prude were

responding to that 911 call. When the officers located Daniel Prude, he was completely naked in

the middle of the street and clearly both disoriented and unarmed. The officers ordered him to lay

down on the freezing cold pavement, cuffed him behind his back, slipped a spit hood over his head

from behind, while he remained naked on the freezing pavement. Then three of the defendant




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Rochester Police Officers forced Daniel Prude to the ground and pinned his head and chest

forcefully down onto the street for several minutes, thereby suffocating him as he struggled to

breath. Daniel Prude lost and never regained consciousness. He was pronounced dead seven days

later, on March 30, 2020.

         7.        This Lawsuit asserts claims under 42 U.S.C. § 1983 for excessive force, failure to

intervene, and deliberate indifference to Daniel Prude’s serious medical needs; claims under the

Americans with Disabilities Act and Section 504 of the Rehabilitation Act; and state law claims

for intentional infliction of emotional distress/outrageous conduct causing emotional distress,

common law battery, common law negligence, gross negligence, and wrongful death.

         8.        The Lawsuit seeks damages for loss of life, conscious pain and suffering, wrongful

death, and punitive damages. The Lawsuit also seeks recovery of Plaintiff’s attorneys’ fees and

costs.

         9.        Defendants deny all liability.

         10.       I have carefully reviewed the affidavit of my attorney, Matthew J. Piers, and I

confirm the accuracy of the terms of the retainer agreement as set forth in the affidavit. Under the

terms of that retainer agreement, Plaintiff’s Counsel are entitled to attorneys’ fees in the amount

of 33% of the recovery, and in addition, are entitled to be reimbursed for disbursements incurred

in advancing the claims in the above-referenced action.

         11.       The Parties have reached a settlement in principle, and the terms are as follows:

               x   The Lawsuit is settled for a payment by Defendant City of Rochester to the Plaintiff
                   in the total amount of twelve million dollars ($12,000,000) (the “Settlement
                   Amount”).

               x   The Lawsuit will be dismissed with prejudice, waiver of any right to appeal, and a
                   general release of the Defendants (and their agents, successors and employees) by
                   the Plaintiff Administrator.




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              x   There will be no admission of liability.

              x   Fifty percent (50%) of the Settlement Amount (six million dollars ($6,000,000)) is
                  to be paid as compensation for damages for conscious pain and suffering (“Survival
                  Claims”), and the remaining fifty percent (50%) of the Settlement Amount (six
                  million dollars ($6,000,000)) is to be paid as compensation for damages for
                  pecuniary injuries to five children, the heirs, resulting from the decedent’s death
                  (“Wrongful Death Claims”). No portion of the Settlement Amount is to be paid for
                  punitive damages.

              x   Thirty-three percent of the total Settlement Amount (33 percent of the Survival
                  Claims damages ($1,980,000) and 33 percent of the Wrongful Death Claims
                  damages ($1,980,000)) will be paid as attorneys’ fees to Plaintiff’s Counsel, for a
                  total of three million nine-hundred and sixty thousand dollars ($3,960,000) in
                  attorneys’ fees.

              x   One-hundred and sixteen thousand eight-hundred and eight dollars and 92 cents
                  (($116,808.92) of the Settlement Amount ($58,404.46 of the Survival Claims
                  damages and $58,404.46 of the Wrongful Death Claims damages) are to be paid to
                  Plaintiff’s Counsel for disbursements, to reimburse Plaintiff’s Counsel for costs
                  incurred in advancing the claims in the above-referenced action.

        12.       My attorneys have reviewed with me the terms of the settlement agreement, and I

believe that the settlement terms are fair and reasonable and in the best interest of the Estate and

distributees.

        13.       The Cook County Probate Court in Illinois authorized me, as Supervised

Administrator of the Estate of Daniel Prude, to enter into a settlement, including attorneys’ fees

and disbursements, without further approval of the Probate Court, subject to this Court’s approval

of the settlement. A copy of that Order is attached as Exhibit D.

        WHEREFORE, your affiant prays the Court to enter the Proposed Order Approving

Settlement attached hereto as Exhibit E.




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                EXHIBIT
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                EXHIBIT
                  B
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                EXHIBIT
                  C
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                EXHIBIT
                  D
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                EXHIBIT
                  E
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    UNITED STATES DISTRICT COURT
    WESTERN DISTRICT OF NEW YORK


 NATHANIEL MCFARLAND, in his capacity as
 supervised and ancillary administrator of the ESTATE
 OF DANIEL PRUDE,

                     Plaintiff,
                                                                  No. 6:20-cv-006675-FPG
                     v.

 THE CITY OF ROCHESTER, MARK VAUGHN,
 TROY TALADAY, FRANCISCO SANTIAGO,
 MICHAEL MAGRI, ANDREW SPECKSGOOR,
 JOSIAH HARRIS, and other as-yet-unidentified
 Rochester police officers,

                     Defendants.



                    [PROPOSED] ORDER APPROVING SETTLEMENT
       Upon the Plaintiff’s application for settlement approval pursuant to Local Rule 41 and

submission of affidavits in support thereof, the Court states as follows:

       1.      In light of the complexity of this matter and its significance to the community, and

with agreement of the parties, in early 2022, this Court appointed two federal judges to serve as

mediators in this action, Hon. LaShann DeArcy Hall of the United States District Court for the

Eastern District of New York, and Hon. Magistrate Judge Jonathan Feldman of the United States

District Court for the Western District of New York.

       2.      After extensive arm’s length, mediated negotiations, lasting over several months,

the parties report that they have reached a settlement in principle.

       All parties appearing before the Court, and the Court finding, and the parties agreeing,

that a hearing is not necessary, IT IS HEREBY ORDERED:
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       1.      The Court hereby approves, pursuant to Local Rule 41, the terms of the proposed

settlement of the above-referenced action involving claims by the Estate of decedent Daniel

Prude, including the attorneys’ fees and disbursements to be paid out of the settlement, finding

the terms thereof to be fair and reasonable and in the best interest of the Estate and distributees.

These terms include the following:

       a. The above-referenced action (the “Lawsuit”) is settled for a payment by Defendant City
          of Rochester to the Plaintiff in the total amount of twelve million dollars ($12,000,000)
          (the “Settlement Amount”).

       b. The Lawsuit will be dismissed with prejudice, waiver of any right to appeal, and a
          general release of the Defendants (and their agents, successors and employees) by the
          Plaintiff Administrator.

       c. There will be no admission of liability.

       d. Fifty percent (50%) of the Settlement Amount (six million dollars ($6,000,000)) is to
          be paid as compensation for damages for conscious pain and suffering (“Survival
          Claims”), and the remaining fifty percent (50%) of the Settlement Amount (six million
          dollars ($6,000,000)) is to be paid as compensation for damages for pecuniary injuries
          to five children, the heirs, resulting from the decedent’s death (“Wrongful Death
          Claims”). No portion of the Settlement Amount is to be paid for punitive damages.

       e. Thirty-three percent of the total Settlement Amount (33 percent of the Survival Claims
          damages ($1,980,000) and 33 percent of the Wrongful Death Claims damages
          ($1,980,000)) will be paid as attorneys’ fees to Plaintiff’s Counsel, for a total of three
          million nine-hundred and sixty thousand dollars ($3,960,000) in attorneys’ fees.

       f. One-hundred and sixteen thousand eight-hundred and eight dollars and 92 cents
          (($116,808.92) of the Settlement Amount ($58,404.46 of the Survival Claims damages
          and $58,404.46 of the Wrongful Death Claims damages) are to be paid to Plaintiff’s
          Counsel for disbursements, to reimburse Plaintiff’s Counsel for costs incurred in
          advancing the claims in the above-referenced action.

       g. The Settlement Amount net of attorneys’ fees and disbursements shall be paid into two
          separate “Qualified Settlement Funds” (“QFS”)—one for the Survival Claims damages
          net of fees and disbursements and one for the Wrongful Death Claims damages net of
          fees and disbursements—within the meaning of United States Treasury Regulation §
          1.468B-1, 26 C.F.R. § 1.468B-1 that shall be established pursuant this Order and will
          be subject to the continuing jurisdiction of this Court until payments are directed from
          these two funds by the Cook County Probate Court. Defendant is a “transferor” within
          the meaning of United States Treasury Regulation § 1.468B-1(d)(1) to the Settlement
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            Funds. Eastern Point Trust Company, shall be the “administrator” of the Settlement
            Funds within the meaning of United States Treasury Regulation § 1.468B-2(k)(3) and,
            as the administrator, shall: (a) timely make or join in any and all filings or elections
            necessary to make the Settlement Funds qualified settlement funds at the earliest
            possible date (including, if requested by Defendant, a relation-back election within the
            meaning of United States Treasury Regulation § 1.468B-1(j)); (b) timely file all
            necessary or advisable tax returns, reports, or other documentation required to be filed
            by or with respect to the Settlement Funds; (c) timely pay any taxes (including any
            estimated taxes, and any interest or penalties) required to be paid by or with respect to
            the Settlement Funds; and (d) comply with any applicable information reporting or tax
            withholding requirements imposed by applicable law, in accordance with United States
            Treasury Regulation § 1.468B-2(l). Any such taxes, as well as all other costs incurred
            by the administrator in performing the obligations created by this subsection, shall be
            paid out of the Qualified Settlement Funds. Defendant shall have no responsibility or
            liability for paying such taxes and no responsibility to file tax returns with respect to the
            Qualified Settlement Funds or to comply with information-reporting or tax-withholding
            requirements with respect thereto. Defendant shall provide the administrator with the
            combined statement described in United States Treasury Regulation § 1.468B-
            3(e)(2)(ii).

       h. Following payment in full of the Settlement Amount, Plaintiff Administrator agrees to
          hold harmless and indemnify Defendants against any claims for attorneys’ fees related
          to the above-referenced action.

       i. The parties shall seek to facilitate the prompt transfer of funds by wire transfer.

       2.       The Plaintiff is directed to apply to the Circuit Court of Cook County, Illinois

County Department, Probate Division for an order of distribution of the net proceeds of the

settlement, pursuant to 755 ILCS 5/2-1.

       3.       This action is hereby dismissed with prejudice and without costs, including all

claims brought and that could have been brought. The Court will retain jurisdiction, but the

above-referenced action no longer remains pending.

SO ORDERED this ______ day of October, 2022
                                                                _____________________________
                                                                Hon. Frank P. Geraci
